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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

TAWNYA BRIGANDI,                        §
                                        §
               Plaintiff,               §
                                        §
vs.                                     §         CASE NO. 4:14-CV-00068
                                        §
LEX SPECIAL ASSETS, L.L.C.              §
                                        §
               Defendant.               §


                       DEFENDANT’S DISCLOSURE STATEMENT


       Pursuant to Rule 7.1, Lex Special Assets, L.L.C. makes the following Disclosure

Statement:

       Lex Special Assets, L.L.C. is wholly owned by PAMI LLC. PAMI LLC is wholly owned

by Property Asset Management Inc. Property Asset Management Inc. is 99.75% owned by

Lehman ALI Inc., and Lehman ALI Inc. is wholly owned by Lehman Brothers Holdings Inc., a

publicly held corporation.




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                                             Respectfully submitted,

                                            ___/s/ Joseph T. Krause _____________________
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                                            ATTORNEYS FOR LEX SPECIAL ASSETS,
                                            L.L.C.




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of this document was served

upon the following counsel of record via the Court’s ECF system on this 4th day of February

2014:

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                                                   ___/s/ Joseph T. Krause _______________
                                                    Joseph T. Krause


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